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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 CHRISTOPHER PAUL PEARSON
 and MARSHA ANNE PEARSON,
         Plaintiffs,
     v.                                         CIVIL ACTION FILE NO.

 DR. WILLIAM WININGER, SR.,                     1:15-cv-03849-AT-WEJ
 individually and as an officer of
 the King’s Way Baptist Church, Inc.
 and the King’s Way Christian
 School; JOE HAYMAN, and as an
 officer of the King’s Way Baptist
 Church, Inc., DR. RAY CONWAY,
 SR., individually and as an officer of
 the King’s Way Baptist Church, Inc.
 and as Administrator the King’s Way
 Christian School; THE KING’S WAY
 BAPTIST CHURCH, INC., and
 THE KING’S WAY CHRISTIAN
 SCHOOL,

                  Defendants.




        NOTICE TO TAKE DEPOSITION OF DEFENDANT DR. WILLIAM
                             WININGER

TO:         All Counsel of Record

            Please take notice that pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Plaintiffs will take the deposition upon oral examination of

Defendant Dr. William Wininger before an officer authorized to administer

oaths on Friday, December 18, 2015 at 10:00am at the offices of The Pilgrim
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Law Group, LLC, 845 S. Carroll Rd Suite A and B, Villa Rica, GA 30180. Said

Deposition will be recorded via stenographic means and will continue until it is

adjourned. This examination will be subject to further continuance from time to

time and place to place until completed. Counsel for the Plaintiffs have agreed to

arrange for the reporting of the deposition by stenographic means.

            This 14th day of December, 2015.

                                          HARTLEY, ROWE & FOWLER, P.C.

                                          /s/Joseph H. Fowler
                                          Joseph H. Fowler
                                          Georgia Bar No. 271950
                                          Erica T. Taylor
                                          Georgia Bar No. 382075
                                          HARTLEY, ROWE & FOWLER, P.C.
                                          Attorneys for Plaintiffs
P.O. Box 489
Douglasville, Georgia 30133
770-920-2000
770-920-9119 Fax
jfowler@hrflegal.com
etaylor@hrflegal.com




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                             CERTIFICATE OF SERVICE

            I hereby certify that I have this day served a copy of the within and

foregoing NOTICE TO TAKE DEPOSITION upon the following parties to this

matter by electronic filing:

                       J. Mac C. Pilgrim, Esq.
                       Daniel E. Rice, Esq.
                       THE PILGRIM LAW GROUP, LLC
                       845 S. Carroll Rd Suite A and B
                       PO Box 2200
                       Villa Rica, GA 30180
                       (770) 459-9210
                       (770) 459-9207
                       thepilgrimlawgroup@yahoo.com

                       George M. Weaver
                       Eric P. Wilborn
                       HOLLBERG & WEAVER, LLP
                       2921 Piedmont Road, NE
                       Suite C
                       Atlanta, Georgia 30305
                       (404) 760-1116
                       gweaver@hw-law.com
                       ewilborn@hw-law.com

            I hereby certify that I have this day served a copy of the within and

foregoing NOTICE TO TAKE DEPOSITION upon the following party to this

matter by U.S. Mail:

                       David C. Gibbs, Jr., Esq.
                       Seth Kraus, Esq.
                       Gibbs & Associates Law Firm, LLC
                       5700 Gateway Boulevard, Suite 400
                       Mason, OH 45040
                       Tel: (513) 234-5545
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                        Fax: (513) 298-0066
                        www.gibbs-lawfirm.com
                        skraus@gibbs-lawfirm.com

            This 14th day of December, 2015.

                                          HARTLEY, ROWE & FOWLER, P.C.

                                          /s/Joseph H. Fowler
                                          Joseph H. Fowler
                                          Georgia Bar No. 271950
                                          Erica T. Taylor
                                          Georgia Bar No. 382075
                                          HARTLEY, ROWE & FOWLER, P.C.
                                          Attorneys for Plaintiffs
P.O. Box 489
Douglasville, Georgia 30133
770-920-2000
770-920-9119 Fax
jfowler@hrflegal.com
etaylor@hrflegal.com




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